         Case 4:15-cr-00049 Document 44 Filed on 02/09/15 in TXSD Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §    CRIMINAL NO. H-15-0049
                                                   §
DEANDRE HOOD                                       §

                            ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the Government moved for
detention pending trial and the Defendant waived his right to a detention hearing. That waiver of
detention hearing is entered in the record as Dkt. No. 39. I conclude that the following facts are
established by a preponderance of the evidence and require the detention of the above-named
defendant pending trial in this case.

                                           Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)     The defendant has been convicted of a (federal offense) (state or local offense that
                 would have been a federal offense if a circumstance giving rise to federal jurisdiction
                 had existed) that is

                      []     a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                      []     an offense for which the maximum sentence is life imprisonment or
                             death.

                      []     an offense for which a maximum term of imprisonment of ten years or
                             more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                             ( ) § 955(a).

                      []     a felony that was committed after the defendant had been convicted of
                             two or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                             (A)-(C), or comparable state or local offenses.

          [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                  pending trial for a federal, state or local offense.

          [ ] (3) A period of not more than five years has elapsed since the (date of conviction)
                  (release of the defendant from imprisonment) for the offense described in finding 1.
          [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
       Case 4:15-cr-00049 Document 44 Filed on 02/09/15 in TXSD Page 2 of 3




                  combination of conditions will reasonably assure the safety of any other person and
                  the community. I further find that the defendant has not rebutted this presumption.

[]      B.        Findings of Fact [18 U.S.C. § 3142(e)]

        [] (1) There is probable cause to believe that the defendant has committed an offense

                      []      for which a maximum term of imprisonment of ten years or more is
                              prescribed in 21 U.S.C.
                              ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                      []      under 18 U.S.C. § 924(c).

        [ ] (2) The defendant has not rebutted the presumption established by finding 1 that no
                 condition or combination of conditions will reasonably assure the appearance of the
                  defendant as required and the safety of the community.

[X]     C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

        [X] (1)       Defendant is accused of conspiracy to commit health care fraud, healthcare
                      fraud, conspiracy to pay healthcare kickbacks, and payment and receipt of
                      healthcare kickbacks, in violation of 18 U.S.C. §§ 2, 371, 1347, 1349, and 42
                      U.S.C. § 1320-7b.

        [X] (2)       There is a serious risk that the defendant will flee.

        [X] (3)       Defendant represents a danger to the community.

        [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
                (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X ]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

        [ ] (1) As a condition of release of the defendant, bond was set as follows:

        [ ] (2)

        [X ] (3) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                 3142(c) which will reasonably assure the appearance of the defendant as required.

        [X ] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                 § 3142(c) which will reasonably assure the safety of the community.


                                                    2
      Case 4:15-cr-00049 Document 44 Filed on 02/09/15 in TXSD Page 3 of 3




                            Written Statement of Reasons for Detention

        I find that the accusations in the indictment and the information submitted in the Pretrial
Services Agency report establish by a preponderance of the evidence that no condition or
combination of conditions will reasonably assure the appearance of the defendant as required and
by clear and convincing evidence that there is no condition or combination of conditions of release
which would reasonably assure the safety of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

       1.      Defendant is a 32 year-old U.S. citizen. He is currently serving a 7-year sentence in
               the Texas Department of Criminal Justice - Institutional Division.

       2.      Defendant is charged with conspiracy to commit health care fraud, healthcare fraud,
               conspiracy to pay healthcare kickbacks, and payment and receipt of healthcare
               kickbacks, in violation of 18 U.S.C. §§ 2, 371, 1347, 1349, and 42 U.S.C. § 1320-7b.
               Defendant faces a penalty of up to 10 years in prison. He has a lengthy criminal
               history that includes numerous convictions including burglary of a vehicle, forgery
               of a financial instrument, burglary of a building, credit card abuse, engaging in
               organized criminal activity, unauthorized use of a motor vehicle, possession of
               marijuana, failure to identify, fraudulent use/possession of identifying information,
               and manufacture/delivery of a controlled substance. He has previously had bond
               revoked.

       3.      There is no condition or combination of conditions of release which would assure
               the safety of the community or defendant’s appearance in court. Detention is ordered.

                                  Directions Regarding Detention

       It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United
States Marshal for the purpose of an appearance in connection with all court proceedings.

       Signed at Houston, Texas on February 9, 2015.




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